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                                                                       Page 1

1                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA
2
3                                                 - - -
4
            IN RE:      PORK ANTITRUST               :    No. 0:18-cv-
5                       LITIGATION                   :    01776-JRT-HB
                                                     :
6                                                    :
                                                     :
7                                                    :
            This Document Relates to                 :
8                All Actions                         :
9
                                                  - - -
10
                                    THURSDAY, JUNE 23, 2022
11                                    HIGHLY CONFIDENTIAL
12                                           - - -
13
14
                  Remote Zoom Videotape Deposition of
15
            DEBORAH McCONNELL, taken pursuant to Notice,
16
            commencing at approximately 9 o'clock a.m.,
17
            Central Time, on the above date, before Rose
18
            A. Tamburri, RPR, CM, CCR, CRR, USCRA Speed
19
            and Accuracy Champion and Notary Public.
20
21
22                                                  - - -
23
                                  VERITEXT LEGAL SOLUTIONS
24                                  Mid-Atlantic Region
                              1801 Market Street - Suite 1800
25                           Philadelphia, Pennsylvania 19103

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1          Q.       Was it more than 10 years ago?
2          A.       That, I'm not sure.                 I can't quantify
3    that specifically.
4          Q.       Do you recall whether someone asked
5    you to start making guesses as to the identity
6    of companies within the Agri Stats reports?
7                        MS. RIDER ROHRBAUGH:                 Objection to
8    form.
9                        THE WITNESS:            I don't recall
10   ever -- anyone ever asking.                      My recollection
11   is -- my drive and desire in my role in
12   accounting, I love accuracy, it has to be
13   accurate.         I drive -- I drive for that.
14                       And so how could I take this
15   inch-thick book of data and make it in a
16   summary form that we could use for the
17   benchmarking process.
18                       So it was me trying to make it
19   simpler to -- to review.
20   BY MS. SCARLETT:
21         Q.       Was it your idea to make a guess as
22   to the identity of companies within the Agri
23   Stats reports?
24         A.       As I recall, once I mathematically
25   found a simpler way to present the data, then

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1    it became ease of reporting, guess a name for,
2    you know, for discussion purposes or call them
3    No. 1, No. 7, No. 12.                  And names, estimated
4    names, guesses, flat-out guesses, just seemed
5    to flow better in our review meetings,
6    benchmark review meetings.
7          Q.       When you made the identification of
8    competitors within the reports, it was your
9    best guess; isn't that correct?
10                       MS. RIDER ROHRBAUGH:                 Objection to
11   form.
12                       THE WITNESS:            It was a guess,
13   literally a guess.               And often, when a name
14   was -- a guess was put on a profile, and then
15   the next month or two months later, there was
16   an obvious change in that profile such that it
17   visibly appeared, there's no way -- or the
18   name was now not the same; in other words, the
19   profile belonged to somebody else.
20                       Said a different way, guessing a
21   name and usually within two months, we're --
22   we're analyzing trends for benchmarking.                               And
23   within a couple months, almost regularly,
24   changed the guess.               And then we'd change the
25   guess again, meaning go back a month and

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1    change the guess to be somebody else.
2                        And that was me doing that, just
3    'cause it didn't -- it didn't seem logical,
4    basis the data flowing.
5    BY MS. SCARLETT:
6          Q.       Well, I believe you just testified
7    you love accuracy; is that correct?
8          A.       Yes, I do.
9          Q.       And so when you made these guesses,
10   you were making your best guesses; is that
11   correct?
12                       MS. RIDER ROHRBAUGH:                 Objection to
13   form.
14                       THE WITNESS:            I love accuracy,
15   absolutely, and I strive for accuracy.                                 So it
16   was a guess, but it was a guess, basis, just a
17   guess.
18                       And then in my strife for
19   accuracy, when I could see it looked wrong,
20   because that's all I could see is that it
21   didn't -- it didn't appear to flow, that was
22   the only basis for my changing the guess to a
23   different guess.
24   BY MS. SCARLETT:
25         Q.       Is it fair that -- to say that you've

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1    your October and November 'books'... that is
2    all you will need... thanks, Debbie.                            Noel
3    wants to meet (as a group) on 2.11.10 to
4    review the competitor information..."                             {sic}
5                        Do you see that?
6          A.       Yes, I do.
7          Q.       When you write, "We were able to
8    define the 3 eastern plants for
9    September...and validate it," {sic} what do
10   you mean by "validate it"?
11         A.       What I believe I meant years ago is
12   in reference to that orange on those
13   spreadsheets, because Agri would say here's a
14   collective IOE of the eastern plants.
15                       So "validate" means I -- I know
16   what I could compare it to.                      That's all I
17   meant by validate.
18         Q.       So was it kind of when the numbers
19   matched up, that's what you meant by validate
20   it?
21         A.       I would say it meant that I did the
22   comparison, not necessarily that they matched
23   up.
24                       The -- just to expound for two
25   seconds, in -- in Agri, the results would have

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1    been weighted, weighted average, you know, of
2    those -- the eastern, the -- the eastern --
3    the eastern results would have been a weighted
4    average of the three eastern locations.
5                       In Agri Stats, there is no volume
6    at all, zero.           I have no idea what volume
7    harvested or processed anybody does any month.
8    It's -- it's all presented on a per head or
9    per hundred weight, so like one hog basis.
10                      So even when we guess at three
11   easterns, then the only option I had
12   mathematically to come up with a combined
13   number was to use the capacity.                        And who
14   has -- I had never had any idea if they even
15   ran their capacity.
16                      So even my weighting, some -- the
17   names were a guess, and then I weighted them
18   on their capacity, which is public
19   information, but I had no idea if they even
20   ran their capacity.
21                      So, I mean, it was a guess to
22   start with, weighted on the capacity, which I
23   have no idea if they ran the capacity, and
24   then I'd compare it to the number he had in
25   the book.

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1                        So even if it was close, it could
2    be wrong, because I used capacity to weight
3    it, and it really should have been some other
4    number because they all -- I mean...
5          Q.       You write in this document, "We need
6    input from retail and processor sales to help
7    with the identification process."
8                        Do you see that?
9          A.       Yes, I do.
10         Q.       And so who, on the list of required
11   attendees, would have given you input from
12   retail and processor sales?
13                       MS. RIDER ROHRBAUGH:                 Objection to
14   form.
15                       THE WITNESS:            As I recall, again,
16   most of these individuals have had numerous
17   roles in my 36 years.                  Todd, at one point, was
18   in retail sales and Jason Brester, at one
19   point, was in processor sales; in other words,
20   he sold hams and bellies, and Todd sold the
21   rest of the hog.
22   BY MS. SCARLETT:
23         Q.       And do you recall what you meant when
24   you wrote, "Noel wants to meet (as a group) on
25   2.11.10 to review the competitor information"?

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